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                        SUPPLEMENTAL WITNESS AND EXHIBIT LIST

                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

     Case No: 18-32106                                  Name of Debtors: Erin Energy Corporation,
     (Joint Administration Requested)                   et al.,1
     Witnesses:                                         Judge: Marvin Isgur
          1. Sakiru Adefemi (Femi) Ayoade
          2. Dippo Bello
          3. Loretta Cross
          4. Any witness listed by other parties
                                                        Hearing Date: May 31, 2018
                                                        Hearing Time: 3:15:00 p.m.
                                                        Party Names: Erin Energy Corporation, et al.
                                                        Attorney’s Name: Matthew S. Okin
                                                        Attorney’s Phone: (713) 228-4100


 Nature of Proceedings:

           1. Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing Use of
              Cash Collateral Pursuant to Section 363(c) of the Bankruptcy Code; (II) Granting
              Adequate Protection for the Use Thereof; and (III) Scheduling a Final Hearing
              Pursuant to Bankruptcy Rule 4001 as to Use of Cash Collateral [Doc. #28]

           2. Emergency Motion of Armada Oyo Limited and Bumi Armada (Singapore), Pte., Ltd.
              and for an Order Pursuant to Sections 105(a), 362(d)(1) and 363(e) of the Bankruptcy
              Code Modifying the Automatic Stay and Granting Related Relief [Doc. #69]

           3. Emergency Motion of Armda Oyo Limited and Bumi Armada (Singapore) Pte., Ltd.
              to Compel Assumption or Rejection of Executory Contracts Pursuant to Sections
              105(a) and 365(d)(2) of the Bankruptcy Code [Doc. #71]

                              DEBTOR’S SUPPLEMENTAL EXHIBITS

Ex.#                    Description                      Offered       Objection      Admitted/       Disposition
                                                                                        Not
                                                                                      Admitted
25.       Proposed Cash Collateral Order



 1
  The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
 Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
 Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
 TX 77056.
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Ex.#                Description                    Offered   Objection      Admitted/   Disposition
                                                                              Not
                                                                            Admitted
26.    Correspondence from Counsel to PIC
       regarding the Proposed Cash Collateral
       Order



 Respectfully submitted this 31st day of May, 2018.

                                             Respectfully submitted,

                                             OKIN ADAMS LLP

                                             By:         /s/ Matthew S. Okin
                                                    Matthew S. Okin
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                                             PROPOSED ATTORNEYS FOR THE
                                             DEBTORS



                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2018, I filed the foregoing pleading electronically,
 causing a true and correct copy of the foregoing to be served via the Court’s EM/ECF electronic
 system to all parties consenting to service through same.

                                                      /s/ Matthew S. Okin          _______
                                                      Matthew S. Okin




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